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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                                                          Criminal No. 1:18-cr-00083-TSE
                                                   )
                     v.                            )
                                                          Judge T. S. Ellis, III
                                                   )
                                                   )
                                                          Trial Date: July 25, 2018
    PAUL J. MANAFORT, JR.,                         )
                                                   )
                                                   )
                          Defendant.               )
                                                   )


           DEFENDANT PAUL J. MANAFORT JR.’S RESPONSE TO THE
      COURT’S JULY 10, 2018 ORDER RELATING TO HIS PLACE OF DETENTION

         Defendant Paul J. Manafort, Jr., by and through counsel, files this response to the Court’s

July 10, 2018 Order relating to his place of detention. (Dkt. 113). Earlier today, the Court issued

an order addressing some of the concerns raised by Mr. Manafort in his motion to continue the

trial. (Dkt. 109). In that motion, one issue Mr. Manafort raised was the effect of his detention on

the pace of trial preparation.

         The Court endeavored to address some of those concerns in its July 10, 2018 Order by

having Mr. Manafort relocated to the Alexandria Detention Center. However, the concerns

underlying the request for a continuance, while specifically noting the substantial distance between

Northern Neck Regional Jail and Alexandria, were, at bottom, aimed more at the difficulty of

preparing for trial given Mr. Manafort’s detention versus his prior status on pretrial release.

         In light of Mr. Manafort’s continuing detention and after further reflection, issues of

distance and inconvenience must yield to concerns about his safety and, more importantly, the




 
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challenges he will face in adjusting to a new place of confinement and the changing circumstances

of detention two weeks before trial. With these considerations in mind, Mr. Manafort respectfully

asks the Court to permit him to remain in his current place of detention.

         WHEREFORE, Mr. Manafort respectfully requests that the Court rescind its order

directing that he be moved and permit him to remain at the Northern Neck Regional Jail.

Dated: July 10, 2018                         Respectfully submitted,

                                             s/ Kevin M. Downing
                                             Kevin M. Downing (pro hac vice)
                                             Law Office of Kevin M. Downing
                                             601 New Jersey Avenue NW
                                             Suite 620
                                             Washington, DC 20001
                                             (202) 754-1992
                                             kevindowning@kdowninglaw.com

                                             s/ Thomas E. Zehnle
                                             Thomas E. Zehnle (VSB No. 27755)
                                             Law Office of Thomas E. Zehnle
                                             601 New Jersey Avenue NW
                                             Suite 620
                                             Washington, DC 20001
                                             (202) 368-4668
                                             tezehnle@gmail.com

                                             s/ Jay R. Nanavati
                                             Jay R. Nanavati (VSB No. 44391)
                                             Kostelanetz & Fink LLP
                                             601 New Jersey Avenue NW
                                             Suite 620
                                             Washington, DC 20001
                                             (202) 875-8000
                                             jnanavati@kflaw.com

                                             Counsel for Defendant Paul J. Manafort, Jr.




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                                 CERTIFICATE OF SERVICE

I hereby certify that on the 10th day of July, 2018, I will electronically file the foregoing with the

Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:


Andrew A. Weissman
Greg D. Andres
Uzo Asonye
U.S. Department of Justice
Special Counsel’s Office
950 Pennsylvania Avenue NW
Washington, DC 20530
Telephone: (202) 616-0800
Email: AAW@usdoj.gov
       GDA@usdoj.gov
       UEA@usdoj.gov


                                                s/ Jay R. Nanavati
                                               Jay R. Nanavati (VSB No. 44391)
                                               Kostelanetz & Fink LLP
                                               601 New Jersey Avenue NW
                                               Suite 620
                                               Washington, DC 20001
                                               (202) 875-8000
                                               jnanavati@kflaw.com

                                               Counsel for Defendant Paul J. Manafort, Jr.




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